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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF TEXAS



REBECCA SAVEAL,                         CASE NO.

                     Plaintiff,
                                        COMPLAINT FOR VIOLATIONS
v.                                      OF TITLE VII OF THE CIVIL
                                        RIGHTS ACT OF 1964 AND
THE KROGER CO; KROGER                   TEXAS LABOR CODE § 21.055
TEXAS L.P; and DOES 1-10
                                        JURY TRIAL DEMAND
                    Defendants.



        NOW COMES the Plaintiff Rebecca Saveal, by and through her

attorneys, The Law Office of Keith Altman, and for her Complaint

against the Defendants in this civil action states the following:



                                  BACKGROUND

        1.    Plaintiff Rebecca Saveal was employed as a pharmacy

technician by Defendant Kroger Pharmacy from approximately

December 2017 until on or about July 24, 2018. Plaintiff was pregnant

when she was hired by Defendant. Throughout her employment, she

was subjected to work conditions that are inhospitable to pregnant

women. As a result of this discrimination, Plaintiff suffered a

miscarriage in March of 2018. Plaintiff also witnessed widespread
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illegal and unethical behavior on the part of Defendants’ employees.

Plaintiff repeatedly attempted to report their misconduct, and, in

retaliation, Defendants wrongfully terminated her employment.



                                 PARTIES

     2.    Plaintiff Rebecca Saveal was employed as a pharmacy

technician by Defendant from approximately December 2017 until on

or about July 24, 2018. At all times pertinent to this action, Plaintiff

was a United States citizen and was domiciled within the State of

Texas.

     3.    Defendant The Kroger Co. (“Defendant Kroger Co.”) is a

corporation incorporated under the laws of the State of Ohio and

headquartered in Cincinnati, Ohio, which operates a nationwide

grocery and pharmacy chain.

     4.    Defendant Kroger Texas L.P. (“Defendant Kroger Texas”)

is a limited partnership incorporated under the laws of the State of

Ohio and headquartered in Cincinnati, Ohio. On information and

belief, Defendant Kroger Texas L.P. is a subdivision of Defendant

Kroger Co., which operates a grocery and pharmacy chain within the

State of Texas.

     5.    At all times pertinent to this action, Plaintiff was employed

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at the Kroger Pharmacy, Store 547 located at 3205 W. Main Street in

Frisco, Texas 75034 (“Pharmacy”). This location was owned and

operated by both Defendant Kroger Co. and Defendant Kroger Texas.

     6.    DOES 1-10 (“Doe Defendants”) are individuals who were

employed by Defendant Kroger Co. and Defendant Kroger Texas

and worked at the Pharmacy during the period of Plaintiff’s

employment. The names and job titles of the Doe Defendants are

currently unknown.



                   JURISDICTION AND VENUE

     7.    This is an action for damages against Defendants, brought

pursuant to Title VII of the Civil Rights Act of 1964 and Texas Labor

Code § 21.055.

     8.    This Court has original jurisdiction over Plaintiff’s claims

presented in this Complaint based upon the laws of the United States

pursuant to 28 U.S.C. § 1331.

     9.    In accordance with 28 U.S.C. § 1367, this Court also

has supplemental jurisdiction over Plaintiff’s state law claim for

negligence. This is because this state law claim is so closely

related to the federal question claim that it forms the same case

or controversy under Article III of the United State Constitution.

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     10.   This Court properly exercises personal jurisdiction over

Defendant Kroger Co. on the grounds that at all times relevant to

this action, it conducted business at 3205 W. Main Street in Frisco,

Texas 75034, which is within the Eastern District of Texas.

     11.   This Court properly exercises personal jurisdiction over

Defendant Kroger Texas on the grounds that at all times relevant

to this action, conducted business at 3205 W. Main Street in Frisco,

Texas 75034, which is within the Eastern District of Texas.

     12.   This Court properly exercises personal jurisdiction over

Doe Defendants on the grounds that, at all times relevant to this

action, their unlawful actions were undertaken at 3205 W. Main Street

in Frisco, Texas 75034, which is within the Eastern District of Texas.

     13.   Venue is appropriate in the Northern District of Texas

pursuant to 28 U.S.C. § 1391(b) and based on the situs of the events

relevant to this action, which occurred in the City of Frisco within the

State of Texas, a municipality which is located within the Northern

District of Texas.



                      STATEMENT OF FACTS

     14.   Beginning in December of 2017, Plaintiff was employed

as a Pharmacy technician by Defendant Kroger Co. and Defendant

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Kroger Texas. Plaintiff worked at the Kroger Pharmacy located at

3205 W. Main Street in Frisco, Texas 75034,

     15.   Plaintiff was pregnant at the time she began working for

Defendant Kroger Co. and Defendant Kroger Texas.

     16.   From the beginning of her employment, Plaintiff’s

pregnancy was constantly weaponized against her. Doe Defendants

made frequent hostile remarks           to Plaintiff regarding her

pregnancy.    Plaintiff   was   also    constantly    threatened     with

termination for any perceived transgression by Doe Defendants.

     17.   Because Plaintiff was pregnant as well as a single

mother to a disabled child, Plaintiff did not feel that she could

afford to lose her employment with Defendant Kroger Co. and

Defendant Kroger Texas. Therefore, Plaintiff was forced to endure

a hostile and discriminatory work environment without recourse.

     18.   During her employment at the Pharmacy, Plaintiff was

forced to undertake activities that were unsafe for pregnant

women. Plaintiff was forced to be in contact with and handle

medications that are known to pose a risk of miscarriage in

pregnant women.

     19.   Plaintiff was also given the flu vaccine by Doe

Defendants without her permission.

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     20.   In March of 2018, Plaintiff suffered a miscarriage in the

bathroom of her workplace. This miscarriage was the result of the

immense stress placed on Plaintiff through Defendant Kroger Co.

and Defendant Kroger Texas’s work environment as well as being

subjected to Defendants’ unsafe workplace practices.

     21.   During her employment, Plaintiff became aware of

widespread instances of unethical and illegal behavior on the part

of Doe Defendants.

     22.   On    numerous     occasions,    Plaintiff   witnessed      Doe

Defendants taking expired medications out of one bottle and

putting it into different bottles. These expired medications were

given to customers and presented as if they were not expired.

     23.   Plaintiff   also   witnessed     numerous       instances       of

insurance fraud by Doe Defendants. Doe Defendants would charge

pharmacy customers for their medicines then surreptitiously bill

the customers’ insurance companies to essentially collect double

payment for one medicine.

     24.   These unethical and illegal actions were undertaken for

the purpose of boosting profits for the Pharmacy.

     25.   Plaintiff repeatedly attempted to report the wrongdoing

she witnessed by filing reports through an internal ethics reporting

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system called EthicsPoint.

      26.   After Plaintiff began filing EthicsPoint complaints, Doe

Defendants attempted to have Plaintiff transferred to a different

store. Plaintiff refused all such transfers and continued reporting

all ethical violations that she witnessed.

      27.   On or about July 24, 2018, Doe Defendants fired

Plaintiff as a response to Plaintiff’s consistent complaints about

ethical violations.

      28.   On May 7, 2019, Plaintiff filed a charge of employment

discrimination against Defendants through the United States

Equal Employment Opportunity Commission (EEOC). (EEOC

Number: 450-2019-03867)

      29.   On August 17, 2021, Plaintiff received a right to sue

letter from the EEOC.


                             Respondaet Superior

      30.   Plaintiff   incorporates   by   reference   every   preceding

allegation as if specifically set forth herein.

      31.   Under federal and Texas law, an employer is vicariously

liable for an employee’s actions when they are acting within the scope

of their employment on behalf of their employer.


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     32.    The wrongful acts and omissions by Doe Defendants

relevant to this action were undertaken within the scope of their

employment with Defendant Kroger Co. and Defendant Kroger

Texas.

     33.    The wrongful acts and omissions by Doe Defendants are

therefore imputed to Defendant Kroger Co. and Defendant Kroger

Texas.



                                   COUNT I

 VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
    1964 (DISCRIMINATION ON THE BAISIS OF SEX)
               (Against All Defendants)

     34.    Plaintiff incorporates by reference every preceding

allegation as if specifically set forth herein.

     35.    Title VII of the Civil Rights Act of 1964 (“Title VII”)

prohibits discrimination on the basis of sex.

     36.    Plaintiff was pregnant at the time she was hired by

Defendant     Kroger    Co.   and     Defendant    Kroger   Texas.    Doe

Defendants were aware that Plaintiff was pregnant at the time she

was hired. By logical extension, Doe Defendants were also aware that

Plaintiff was a woman. Therefore, Plaintiff is a member of a protected

class for purposes of Title VII.

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      37.   Doe Defendants created a hostile work environment for

Plaintiff on the basis of Plaintiff’s sex through the following actions:

         a. Making frequent hostile remarks toward Plaintiff

            regarding her pregnancy and threatening Plaintiff with

            termination for any perceived transgression.

         b. Forcing Plaintiff to directly handle medications known

            to pose a significant risk of miscarriage when brought

            into contact with pregnant women.

         c. Subjecting Plaintiff to a high degree of stress such that,

            in combination with the unsafe work environment, lead

            to Plaintiff suffering a miscarriage in the restroom of her

            workplace.

      38.   Defendants subjected Plaintiff to a work environment that

was so inhospitable for pregnant women that Plaintiff suffered a

miscarriage as a result. In doing so Defendants discriminated against

Plaintiff on the basis of Plaintiff’s sex.

      39.   Male employees were not subjected to the hardships

faced by Plaintiff. As a woman, Plaintiff was uniquely susceptible

to discrimination inflicted upon her by Defendants on the basis of

Plaintiff being a pregnant woman.

      40.   Due    Defendants’      conduct,   Plaintiff,   suffered   the

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following injuries and damages:

          a. Severe emotional distress including, but not limited to,

            fright, shock, indignity, humiliation, outrage, indignity,

            and embarrassment of being wrongfully subjected to

            sex-based discrimination.

          b. Physical manifestations of emotional distress including,

            but not limited to, sleeplessness, irritability, loss of

            appetite, headaches, and other symptoms.

          c. Other damages which may be revealed through

            discovery.

     41.    By filing an EEOC claim and receiving a right to sue letter,

Plaintiff has exhausted her administrative remedies related to her

claims.



                               COUNT II

           VIOLATION OF TEXAS LABOR CODE § 21.055
            UNLAWFUL EMPLOYMENT RETALIATION
                   (Against All Defendants)

     42.    Plaintiff incorporates herein all the prior allegations.

     43.    During her employment with Defendant Kroger Co. and

Defendant Kroger Texas, Plaintiff witnessed the following illegal

and unethical acts perpetrated by Doe Defendants:

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          a. Numerous times, Plaintiff witnessed Doe Defendants

            taking expired medications out of their bottles and

            putting them into different bottles. These expired

            medications were given to customers and presented as if

            they were not expired.

          b. Plaintiff witnessed numerous instances of insurance

            fraud whereby Doe Defendants. Doe Defendants would

            charge pharmacy customers for their medicines then

            surreptitiously bill the customers’ insurance companies

            to essentially collect double payment for one medicine.

     44.    Plaintiff repeatedly attempted to report Doe Defendants’

wrongdoing through an internal ethics reporting system called

EthicsPoint.

     45.    Plaintiff was fully entitled to report any wrongdoing

through EthicsPoint. Thus, this reporting constitutes a protected

action.

     46.    In direct response to Plaintiff’s protected action, Doe

Defendants first tried to have Plaintiff transferred to a different

store. When Plaintiff refused to be transferred, Doe Defendants

then terminated Plaintiff as a direct consequence of Plaintiff’s

protected action in reporting wrongdoing.

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     47.   Due to the conduct of Defendants, Plaintiff suffered the

following injuries and damages:

        a. Severe emotional distress of knowing that Defendants

           continue to negatively influence her career prospects.

        b. Physical manifestations of emotional distress including,

           but not limited to, sleeplessness, irritability, loss of

           appetite, headaches, and other symptoms.

        c. Fright, shock, indignity, humiliation, outrage, indignity,

           and embarrassment of being wrongfully subjected to this

           wrongful termination.

        d. Loss of employment opportunity, past income, and

           future earning capacity.

        e. Other damages which may be revealed through

           discovery.

                          PRAYER FOR RELIEF

     WHEREFORE, Plaintiff demands judgment and prays for the

following relief against Defendants:

        a. Full and fair compensatory damages in an amount to be
           determined by a jury.

        b. Punitive damages in an amount to be determined by a jury.

        c. Reasonable attorney’s fees and costs of this action.


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       d. Any such other relief as appears just and proper.

                     JURY TRIAL DEMAND

     Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38.


Dated: November 11, 2021        Respectfully Submitted,

                                /s/Keith Altman
                                Keith Altman, Esq.
                                The Law Office of Keith Altman
                                33228 West 12 Mile Road - Suite 375
                                Farmington Hills, Michigan 48334
                                Telephone: (248) 987-8929
                                keithaltman@kaltmanlaw.com
                                Attorney for Plaintiff Rebecca Saveal
                                (Pro Hac Vice to Be Applied For)




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            EXHIBIT A
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 EEOC Form 161-B (11/2020)                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Rebecca A. Saveal                                                              From:     Dallas District Office
        704 Westgate Ct                                                                          207 S. Houston St.
        Anna, TX 75409                                                                           3rd Floor
                                                                                                 Dallas, TX 75202




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                              Telephone No.

                                                         Yolanda Brown,
 450-2019-03867                                          Investigator                                                     (972) 918-3634
                                                                                    (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
        X         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                           On behalf of the Commission


                                                                                                                      August 17, 2021
 Enclosures(s)                                                         Belinda F. McCallister,                                 (Date Issued)
                                                                          District Director

 cc:          Heath Hill, Associate Relations Manager                                  Keith Altman, Attorney
              Kroger                                                                   The Law Office of Keith Altman
              751 Freeport Parkway                                                     33228 West 12 Mile Road, Ste. 375
              Coppell, TX 75019                                                        Farmington Hills, MI 48334
Enclosure with EEOC
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Form 161-B (11/2020)
                                INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
                      (This information relates to filing suit in Federal or State court under Federal law.
             If you also plan to sue claiming violations of State law, please be aware that time limits and other
                    provisions of State law may be shorter or more limited than those described below.)


                                  Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS          --
                                  the Genetic Information Nondiscrimination Act (GINA), or the Age
                                  Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS          --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --               Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                    --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
